                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 UNITED STATES OF AMERICA                 )
                                          )
 v.                                       )        No. 3:06-CR-136
                                          )        Phillips
 ROGER MILLS                              )

                            MEMORANDUM AND ORDER

       This case is before the Court on the defendant’s pro se Motion for Early

 Termination of Probation [Doc. 248]. As set forth in his motion and as the record

 reflects, defendant Roger Mills was convicted of one count of conspiracy to manufacture,

 distribute, and possession with intent to distribute 500 grams or more of

 methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A). He

 was sentenced to a term of imprisonment of 52 months, followed by a term of supervised

 release of five (5) years. Defendant has completed his term of imprisonment and four

 years of the term of supervised release. The government has advised that it has no

 objection to defendant’s motion.

       The Probation Office has advised that defendant lives with his 86 year-old mother-

 in-law in Kodak, Tennessee. Defendant has maintained full time employment and a

 stable residence throughout his time on supervised release. Defendant has not incurred

 any arrests or violations while on supervised release and his drug screens have been

 negative. Further, the supervising probation officer recommends early termination of

 probation for the defendant.




Case 3:06-cr-00136-TWP-CCS          Document 249     Filed 11/17/14   Page 1 of 2   PageID
                                          #: 670
       Defendant moves for early termination of probation pursuant to 18 U.S.C. §

 3564(c) which provides:

              The court, after considering the factors set forth in section 3553(a) to
       the extent that they are applicable, may, pursuant to the provisions of the
       Federal Rules of Criminal Procedure relating to the modification of
       probation, terminate a term of probation previously ordered and discharge
       the defendant at any time in the case of a misdemeanor or an infraction or at
       any time after the expiration of one year of probation in the case of a
       felony, if it is satisfied that such action is warranted by the conduct of the
       defendant and the interest of justice.

       After carefully considering the requirements of the statute, the Court finds the

 relevant portions of 18 U.S.C. § 3553(a) support an early termination of defendant’s

 probation. In support of this determination, the Court notes that defendant has completed

 more than four years of his term of supervised release; he has been in full compliance

 with the conditions of his supervised release; he maintains steady employment and a

 stable residence for his family.       In addition, his supervising probation officer

 recommends early termination. It appears to the Court that defendant has rehabilitated

 himself and he poses no threat to any individual or the community to reoffend.

 Accordingly, pursuant to 18 U.S.C. § 3564(c), based on the defendant’s conduct and the

 interests of justice, defendant’s motion for early termination of probation [Doc. 248] is

 GRANTED. Defendant’s term of probation is TERMINATED.

       IT IS SO ORDERED.

                                     s/ Thomas W. Phillips
                                   SENIOR UNITED STATES DISTRICT JUDGE




                                             2

Case 3:06-cr-00136-TWP-CCS        Document 249       Filed 11/17/14    Page 2 of 2       PageID
                                        #: 671
